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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No. 22-60101-Cr-Cannon/Reinhart

   UNITED STATES OF AMERICA,

   v.

   JUAN GUILLERMO GONZALEZ

         Defendant.
   ______________________________/

                            REPORT AND RECOMMENDATION
                         FOLLOWING CHANGE OF PLEA HEARING

          THIS CAUSE is before the Court upon Oder of Reference from U.S. District Judge

   Aileen M. Cannon and the consent of the parties for a U.S. Magistrate Judge to accept a guilty

   plea by Defendant Juan Guillermo Gonzalez. The Court held a change of plea hearing on

   June 22, 2022, which was attended by Defendant, his counsel Flynn Bertisch, and Assistant

   U.S. Attorney A. Marie Villafana. The Court hereby advises as follows:

          The Court advised Defendant of his right to have the hearing conducted by the

   presiding U.S. District Judge assigned to the case. The Court further advised Defendant that a

   U.S. Magistrate Judge was conducting the change of plea hearing by Order of Reference from

   the U.S. District Judge and as agreed to by Defendant, Defendant’s attorney, and the Assistant

   United States Attorney assigned to this case. The Court further advised Defendant that his

   sentence would be imposed by the presiding U.S. District Judge, who would make all findings

   and rulings regarding such sentence and would conduct a sentencing hearing at a time set by

   the U.S. District Judge.




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          1.      The Court advised Defendant that he did not have to permit the undersigned to

   conduct this hearing and could require that the change of plea hearing be conducted by the

   U.S. District Judge.      Defendant, Defendant’s attorney, Assistant United States Attorney

   assigned to the case all agreed on the record and consented to this Court conducting the

   change of plea hearing.

          2.      The Court then conducted a plea colloquy in accordance with the outline set

   forth in the Bench Book for U.S. District Judges and in conformity with the requirements of

   Federal Rule of Criminal Procedure 11.

          3.      A written plea agreement has been entered into by the parties in this case. This

   Court reviewed the plea agreement and had the Defendant acknowledge that he signed the

   plea agreement.    This Court also made certain that Defendant was aware of any maximum

   sentences which could be imposed in this case pursuant to the plea agreement, sentencing

   guidelines, and applicable statutes.

          4.      Defendant acknowledged that he was fully satisfied with the services of his

   Attorney and that he had full opportunity to discuss all facets of his case with his attorney,

   which he acknowledged that he understood.

          5.      Defendant pled guilty to the Information. The Information charges that the

   defendant knowingly and willfully aided and abetted others to intentionally access a computer

   without authorization and thereby obtain information from departments and agencies of the

   United States for purposes of commercial advantage and private financial gain, in violation of

   Title 18, United States Code, Sections 1030(a)(2), (c)(2)(B)(i), and 2.

          6.      The Court reviewed the appeal waiver with the Defendant and found that the

   Defendant knowingly, voluntarily, and intelligently entered a waiver of his appellate rights.



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          7.      The parties submitted a Stipulated Factual Proffer Supporting the Guilty Plea,

   made part of the record and signed by Defendant, his counsel, and the Government. This

   factual proffer includes all of the essential elements of the offenses to which Defendant pled

   guilty. The Government orally summarized the factual basis for the plea on the record,

   including the essential elements of each offense. Defendant acknowledged that he signed the

   factual proffer and that all the statements contained therein are true.

          8.      Defendant has been referred to the U.S. Probation Office for the preparation of

   a pre-sentence investigation report. The sentencing hearing will be conducted at a time

   scheduled by the U.S. District Judge.

          Accordingly, based upon the foregoing and the plea colloquy conducted by this Court,

   the undersigned

          RECOMMENDS that Defendant, JUAN GUILLERMO GONZALEZ (1) be found to

   have freely, knowingly, and voluntarily entered a guilty plea to the Information, (2) that his

   guilty plea be accepted, (3) that he be adjudicated guilty of the offense, and (4) that a

   sentencing hearing as scheduled by the U.S. District Judge be conducted for a final

   disposition of this matter.

                                 NOTICE OF RIGHT TO OBJECT

          A party shall serve and file written objections, if any, to this Report and

   Recommendation with the Honorable Aileen M. Cannon, United States District Judge for the

   Southern District of Florida, within FOURTEEN (14) DAYS of being served with a copy of

   this Report and Recommendation. Failure to timely file objections shall constitute a waiver of

   a party's "right to challenge on appeal the district court’s order based on unobjected-to factual

   and legal conclusions." 11th Cir. R. 3-1 (2016).



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          If counsel do not intend to file objections, they shall file a notice

   advising the District Court within FIVE DAYS of this Report and

   Recommendation.

          DONE AND RECOMMENDED in Chambers at West Palm Beach in the Southern

   District of Florida, this 22nd day of June.


                                                     BRUCE E. REINHART
                                                     U.S. MAGISTRATE JUDGE




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